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 1   RANDY SUE POLLOCK
     Attorney at Law (CSBN 64493)
 2   2831 Telegraph Avenue
     Oakland, CA 94609
 3   Telephone: (510) 763-9967
     Facsimile: (510) 272-0711
 4
     MICHAEL STEPANIAN
 5   Attorney at Law (CSBN 037712)
     819 Eddy Street
 6   San Francisco, CA 94109
     Telephone: (415) 771-6174
 7   Facsimile: (415) 474-3748
 8
     Attorneys for Defendant
 9   JAMES ASHFORD WHITE
10
11                                UNITED STATES DISTRICT COURT
12                                EASTERN DISTRICT OF CALIFORNIA
13                                                –ooo–
14    UNITED STATES OF AMERICA,                       CR. 07-570-FCD
15                   Plaintiff,
16    vs.                                             STIPULATION TO MODIFY
17                                                    CONDITIONS OF PRE-TRIAL
                                                      RELEASE; ORDER
18    JAMES ASHFORD WHITE, et al,                     _____________________________

19                   Defendants.

20                                                /

21
            IT IS HEREBY STIPULATED by and between Randy Sue Pollock, counsel for
22
     defendant James Ashford White, and Assistant United States Attorney Heiko Coppola that
23
     the terms and conditions of his release be modified to permit him to live with his girlfriend,
24
     Kathy Wilcox, at 195 W. Coast Road, Redway, CA 95560. This residence is owned by Ms.
25
     Wilcox’s parents.
26
     ///
27
     ///
28
              Case 2:07-cr-00570-KJM Document 113 Filed 01/15/09 Page 2 of 2


 1          Tim Elder who is Mr. White’s supervising Pretrial Service Officer has no objection to
 2   this modification of the bond.
 3
 4   Date: January 13, 2009                           /s/ Randy Sue Pollock
                                                      Randy Sue Pollock
 5                                                    Michael Stepanian
                                                      Counsel for Defendant
 6                                                    JAMES ASHFORD WHITE
 7
     Date: January 13, 2009                           _/s/
 8                                                    Heiko Coppola
                                                      Assistant United States Attorney
 9
10
     SO ORDERED:
11
     Date: January 15, 2009
12
                                                        /s/ Gregory G. Hollows
13
                                                      United States Magistrate Judge
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     white570.ord
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